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                                     UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                     Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                        MOTION INFORMATION STATEMENT

Docket Number(s): 22-1374                                                                         Caption [use short title]

Motion for: Extension of Time Within Which to File a
Petition for Rehearing (Unopposed)                                           Nat'l Shooting Sports Foundation, Inc., et al.
                                                                                                           v.
Set forth below precise, complete statement of relief sought:
                                                                             Letitia James, in her official capacity as New
Appellants seek a 60-day extension of the time within
                                                                             York Attorney General
which to file a petition for rehearing or rehearing en banc,

to and including September 22, 2025.
Appellee does not oppose this request.




MOVING PARTY: National Shooting Sports Foundation, Inc., et al. OPPOSING PARTY: Letitia James

              Plaintiff                     Defendant

              Appellant/Petitioner       Appellee/Respondent

MOVING ATTORNEY: Erin E. Murphy                             OPPOSING ATTORNEY: Ester Murdukhayeva
                          [name of attorney, with firm, address, phone number and e-mail]
Clement & Murphy, PLLC                                                   N.Y. State Office of the Attorney General
706 Duke Street, Alexandria, VA 22314                                   28 Liberty Street, New York, NY 10005
(202) 742-8900, erin.murphy@clementmurphy.com                           (212) 416-6279; ester.murdukhayeva@ag.ny.gov

Court- Judge/ Agency appealed from: U.S. District Court for the Northern District of New York (D'Agostino, J.)

Please check appropriate boxes:                                            FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                           INJUCTIONS PENDING APPEAL:
 Has movant notified opposing counsel (required by Local Rule 27.1):        Has this request for relief been made below?          Yes No
             Yes       No (explain):                                        Has this relief been previously sought in this court? Yes No

                                                                            Requested return date and explanation of emergency:

Opposing counsel’s position on motion:
            Unopposed        Opposed      Don’t Know
Does opposing counsel intend to file a response:
             Yes      ✔
                      _No       Don’t Know



Is the oral argument on motion requested?               Yes     No (requests for oral argument will not necessarily be granted)


Has the appeal argument date been set?                  Yes     No If yes, enter date: 11/03/2023


Signature of Moving Attorney:
 s/Erin E. Murphy                             Date:     07/15/2025           Service :    Electronic        Other [Attach proof of service]

Form T-1080 (rev. 10-23)
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                    UNITED STATES COURT OF APPEALS
                        FOR THE SECOND CIRCUIT

 NATIONAL      SHOOTING          SPORTS )
 FOUNDATION, INC., et al.,               )
                                         )
            Plaintiffs-Appellants,       )
                                         )
            v.                           )      No. 22-1374
                                         )
 LETITIA JAMES, in her official capacity )
 as New York Attorney General,           )
                                         )
                                         )
            Defendant-Appellee.          )
                                         )

          UNOPPOSED MOTION FOR EXTENSION OF TIME
        WITHIN WHICH TO FILE A PETITION FOR REHEARING

      Appellants National Shooting Sports Foundation, Inc., Beretta U.S.A. Corp.,

Davidson’s, Inc., Glock Inc., Central Texas Gun Works, Hornady Manufacturing

Company, Lipsey’s LLC, Osage County Guns LLC, RSR Group, Inc., Shedhorn

Sports, Inc., Sig Sauer, Inc., Smith & Wesson Inc., Sports South LLC, Sprague’s

Sports Inc., and Sturm, Ruger & Company, Inc., respectfully request a 60-day

extension of time within which to file a petition for rehearing in this case.

      This Court’s judgment in this case was entered on July 10, 2025. Absent an

extension of time, a petition for rehearing is due under Federal Rule of Appellate

Procedure 40(a)(1) on July 24, 2025.




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      The extension of time is necessary to allow appellants time to determine

whether to file a petition for rehearing en banc in this case, and to prepare a petition

if the decision is made to do so. One of the appellants in this case, National Shooting

Sports Foundation, Inc., is a trade association that must additionally consult with its

members. Other appellants are currently defendants in state-court litigation arising

under the statute at issue in this case. Coordination among the parties is further

complicated by pre-scheduled summer travel.

      To ensure that the appellants are able to coordinate effectively and thereby

preserve party and judicial resources, appellants respectfully request a 60-day

extension of time to and including September 22, 2025, within which to file a

petition for rehearing or rehearing en banc in this case.

      Counsel for appellants contacted counsel for the Attorney General, who

represented that the Attorney General does not oppose appellants’ request.

      WHEREFORE, appellants respectfully request that this Court enter an order

extending the time within which to file a petition for rehearing or rehearing en banc,

to an including September 22, 2025.




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                                    Respectfully submitted,

                                    s/Erin E. Murphy
                                    PAUL D. CLEMENT
                                    ERIN E. MURPHY
                                     Counsel of Record
                                    MATTHEW D. ROWEN
                                    CLEMENT & MURPHY, PLLC
                                    706 Duke Street
                                    Alexandria, VA 22314
                                    (202) 742-8900
                                    erin.murphy@clementmurphy.com
                                    Counsel for Appellants
July 15, 2025




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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Plaintiffs certify as

follows:

      National Shooting Sports Foundation, Inc. has no parent company, and no

publicly held corporation owns 10% or more of NSSF stock.

      Beretta Holdings S.A. is the parent company of plaintiff Beretta U.S.A. Corp.

and owns more than 10% of Beretta U.S.A. Corp. Beretta U.S.A. Corp. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Beretta U.S.A. Corp. stock.

      CTCHGC LLC d/b/a Central Texas Gun Works has no parent company.

CTCHGC LLC d/b/a Central Texas Gun Works is not publicly traded, and

therefore there is no publicly held corporation that owns 10% or more of CTCHGC

LLC d/b/a Central Texas Gun Works stock.

      Davidson’s, Inc. has no parent company. Davidson’s, Inc. is not publicly

traded, and there therefore is no publicly held corporation that owns 10% or more of

Davidson’s, Inc. stock.

      GLOCK, Inc. has no parent corporation, and there is no publicly held

corporation owning 10% or more of GLOCK, Inc. stock.
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      Hornady Manufacturing Company has no parent company, and there is no

publicly held corporation that owns 10% or more of Hornady Manufacturing

Company stock.

      Lipsey’s, LLC has no parent company. Lipsey’s, LLC is not publicly traded,

and therefore there is no publicly held corporation that owns 10% or more of

Lipsey’s, LLC stock.

      Osage County Guns has no parent company, and there is no publicly held

corporation that owns 10% or more of Osage County Guns stock.

      RSR Group, Inc. has no parent company. RSR Group, Inc. is not publicly

traded, and therefore there is no publicly held corporation that owns 10% or more of

RSR Group, Inc. stock.

      Shedhorn Sports Inc. has no parent company. Shedhorn Sports Inc. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Shedhorn Sports Inc. stock.

      SIG Sauer, Inc. is a wholly owned subsidiary of SIG SAUER US Holding

LP. No publicly held corporation owns 10% or more of SIG Sauer, Inc. stock.

      Smith & Wesson Inc. is a wholly owned subsidiary of Smith & Wesson

Brands, Inc. Smith & Wesson Brands, Inc. is publicly traded.
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      Sports South LLC has no parent company. Sports South LLC is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Sports South LLC stock.

      Sprague’s Sports Inc. has no parent company. Sprague’s Sports Inc. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Sprague’s Sports Inc. stock.

      Sturm, Ruger & Company, Inc. has no parent company, and no publicly

held corporation owns 10% or more of Sturm, Ruger & Company, Inc. stock.
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                      CERTIFICATE OF COMPLIANCE
                     WITH TYPE-VOLUME LIMITATION

      I hereby certify that:

      1. This motion complies with the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2) because it contains 302 words, excluding the parts

exempted by Federal Rule of Appellate Procedure 32(f).

      2. This motion complies with the type-face requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word 365 in 14-point font.



July 15, 2025

                                      s/Erin E. Murphy
                                      Erin E. Murphy
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                         CERTIFICATE OF SERVICE

      I hereby certify that, on July 15, 2025, an electronic copy of this motion was

filed with the Clerk of Court using the CM/ECF system and thereby served upon all

counsel appearing in this case.



                                      s/Erin E. Murphy
                                      Erin E. Murphy
